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                        Exhibit 1




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                                               DENNIS B. HILL (SBN 218131)                                       FILED
                                               D.B. HILL, A PROFESSIONAL LAW CORPORATION                S perior Court df Gainor ia
                                               640 Fifth Street, Suite 200                                County o1 llo:s Angeles
                                               Lincoln, CA 95648                                              12/ 14/2022
                                               ticketmasterlawsuit@gmail.com
                                               Tel: (916) 434-2553                                            , Exe:21~ 0   oes I   a~   af Caul
                                               Fax: (916) 434-2560                                  ....
                                                                                                    l~ ~.r _ _ _K_. Martinez
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                                               Attorneys for Plaintiffs JULIE BARFUSS ET AL.


                                                                          SUPERIOR COURT OF CALIFORNIA
                                                                              COUNTY OF LOS ANGELES


                                               JULIE BARFUSS, ET AL.                       Case No.: 22STCV37958
                                                                                           FIRST AMENDED COMPLAINT
                                                                Plaintiffs,
                                                     vs.                                   DEMAND FOR JURY TRIAL

                                               LIVE NATION ENTERTAINMENT, INC.,
                                               TICKETMASTER L.L.C., and DOES 1 to 100,

                                                            Defendants.
Electronically Received 12/14/2022 12:31 PM




                                                     Plaintiffs JULIE BARFUSS, RANDY FLOYD BARFUSS, SELENA MONETTE

                                               MILLER, RUMER HENRY, CHRISTY LABONNE, KRIS LABONNE, COURTNEY

                                               BUTLER, DANIELLE LIPS, MARK BURTON, CASSANDRA DIAMOND, EDWARD

                                               HAKOBJANYAN, JOSE R. HERNANDEZ, MELISSA QUINTERO, JENNIFER USELTON,

                                               CLAY MURRAY, JOSEPH AKMAKJIAN, LAUREN MICHELE GOTTHELF, KELLI

                                               HERNANDEZ, MICHAEL COLLINS, VENISHA JARDIN, EMILY NIKLAUS DAVIS,

                                               JENNIFER BAGGETT, SARAH CHATTIN, DARCY RUBINO, JENNIFER TIERNEY,

                                               KAREN BRANDEL, JESSICA BEEKER, JENNIFER BEEMAN, BETSY VICTORIA

                                               WANNER, KATY JOHNSON, ANDREW GAUTERI, AYTZA GAUTERI, MICHAEL

                                               VITULLI, MELONY PUGH, ASHLEIGH CAMACHO, ANTHONY LANNI, ANTHONY




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 LEBLANC, DENISE HULL, JENNIFER LANDRY, KELLY MELTON, KATHLEEN

 MILLIGAN, MORGAN SMALLWOOD, SEAN SMALLWOOD, CRYSTAL WILLIS,

 ALYSSA MCCOY, REBECCA COLE, ASHLEY BOVE, RUMMER HENRY, DAWN

 WEICZOREK, MARANDA GOMEZ, LAUREN KEATING, MEGHAN CLARKE, TEENA

 MARIE COOK, STEPHANIE PALMER, ANNIE PATOTA, PAULA C. MILLER, STACI

 DOWNING, DELAYNA LUTCHKA, SOFIA LEWIS, JESSE ADAMS, AMANDA FROST,

 HOLLY TAYSOM, THERESA A. STANDING, LAURA HASTINGS, SABRINA DARNELL,

 CATHERINE BUGDEN, JANIS HOUSTON, JENNIFER HUDSON, MELODY LANGEVIN,

 KATHLEEN BEECH, SKYE LANDAU, KYLE JORDAN, CINDY DEIMLING, DANIELLE

 MUNOZ, ABIGAIL ALVORD, MICHAEL BASCONE, APRIL STUMPE, DEREK

 LEVESQUE, KILEY KRZYZEK, DANIEL REYES, ROSEMARIE PATTERSON,

 GABRIELLA BLUNCK, ANTHONY BLUNCK, WILLIAM R. NOAH, JIMMY HOANG TA,

 CARRIE BASTAIN, BRETT ANDREW WALT, AUDREY COSTAR, JOE HERNANDEZ,

 ADRIENNE HERNANDEZ, JEAN PIERRE ESPINOZO, LAUREN CHAPPELL, MELINDA

 SCHNECK, LISA DAY, MEGAN JOY SKEUSE, BEATRIZ AGUILAR, CHRYS JARDIN,

 JESSICA SCHROETTER, JOE HERNANDEZ, TERESA EICHINGER, JACQUELYN BEAN,

 KIM BEAN, MAVERICK WAGNER, DOROTHY LYNN FENTON, TONI MAE B. ABACA,

 TRACEY ROMAN, TIMOTHY ELLIS, GLEN BRISTOL, SHERRY PONIWAZ, IRENE

 PEREZ, NIKITA RAMIREZ, KANDICE BRIDGES, EILEEN HAUBRICH, DEBORAH

 SNOW, SAMANTHA TOSETTI, JENNIFER PITT, KEYLEIGH AIELLO, TRACY LE,

 ASHLEE UNDERWOOD, NANCY CORDERO, ALLISON MCCROAN, MATT MCCROAN,

 SALOMON PASSARIELLO, KATHERINE WAGNER, DAVID KILBRIDGE, JENNIFER

 CONTINILLO, CHRISTOPHER TOTH, HOLLIE MEYERS, DORA SCHARF, JASON




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 SCHACTER, LINDSAY LAFOUNTAINE, LISA SHEPPARD, EMMA EARNEST, LINDA

 MARTIN, PATRICK DALTON, SOFIA GANZ, JENNIFER WILKINS, MICHELLE FERA,

 TRACI RENEE O’BRIEN, HOLLY SMITH, CARMEN FIENGO, MAURA MATVEY,

 SIERRA BRUNNER, CLEOFI BLASS, KATHERINE GLASS, RACHAEL COOMBS,

 KAITLIN ROSE GROGG, PAM THAXTON, CARLY THAXTON, BRENDA GALLAGHER,

 DIANE DOUGLAS, JACQUELINE SONETHANOUPHET, SEAN KNEPPER, KIMBERLY

 STEVENSON, JENNIFER KELLY, ALEXANDRIA MARTELLI, CENDRA SHEPHARD,

 JENNI TRANWEAVER, TAYLOR WOOLEY, KATIE YOUNKINS, GRABIEL GOMES,

 FRANK SCOLARO, WILLIAM O. WATSON, ANGELIA BALTHASER, HEATHER

 SLACK, ASHLEY QUELLETTE, ED MASSUDA, KARISSA PITSTICK, CYNTHIA C.

 COLE, WALLY NUNEZ, MICHELLE BARTO, MOLLY RAHE, DEBBIE BROWN, JASON

 BROWN, MICHELLE ROBBINS, KARL PARTCH, CAROLINE MANGAN, SABRINA

 HASTINGS, CONRAD HAUBRICH, JOHN WILLIS, ELISABETH CLAPP, SHELLY

 GRAUPNER, RAFAEL ORTIZ III, LORI BRREDLOVE, DUSTIN SPIELMAN, VIRIGINIA

 SPIELMAN, REBECCA BROWN, KEVIN BROWN, CHAD GILLIGAN, KRISTIN

 GILLIGAN, LOREN DUNSWORTH, JORI KUBECK, MARISSA KIRHNER, ROBERT

 LAYMAN, KACEY L. BURGESS, ELIZABETH CAMPBELL, JENNIFER MATHIEU,

 TYREL HARTMAN, MICHAEL USELTON, REBECCA VAN DALE, GRACE VAN DALE,

 JESSICA KRIZMAN, CINDY MUETH, ANELLA STRUDLER, JENNIFER HOPPE,

 ANTONIA MASCARI, VERONICA HIGAREDA, IAN CLITES, ANGELA DUNBAR,

 TATYANA BARDASH, LORA ELLIS, LARISSA SOLOMON, JESSICA TAYLOR,

 KATHLEEN OWENS, KENNETH ENGLESON, MONICA ENGLESON, NICHOLAS

 ENGLESON, JENNIFER VIEIRA, CAVAN FARLEY, TIFFANY BRAY, EMILY GAUDET,




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 ELIZABETH ATKINSON, GENESIS BORRERO, MELISSA BAILEY, ELEANA VILLA,

 TELKA BECKER, MICHELE FIEDLER, AMY MAUPIN, XIAO SEBESTIEN SANG,

 WENDY THOMAS, DANIEL REYES, MARY KIRK, MARIBEL SERRAO, MADISON

 SHANER, ROCHELLE CATRILLO, MICHAEL BERLIN, ROBERT NOAH, ASHLYNN

 ALEXANDER, ALYRA PARKER, NICHOLAS RITTER MCGEE, BRUCE NUNELEY,

 STACY LESTAGE, DAWN ADRIAN, KRISTEN NEWMAN, PENNY KARRISON, MARY

 VANDIVER, JESSICA VANWINKLE, MYKENZIE DAY, JENNIFER LEMEKE, SHANNON

 LARSEN, BRANDY ADAMS, BRADLEY EMERSON, KATHERINE L. EAVES, NATALIE

 CRUZE, JOANNA COOPER, and TAMMY STEEVES (“Plaintiffs”) bring this lawsuit against

 Defendants LIVE NATION ENTERTAINMENT, INC. and TICKETMASTER LLC

 (collectively referred to as “Ticketmaster”) for unlawful conduct in violation of California’s

 Cartwright Act and the California Unfair Competition Law, to recover parens patriae damages,

 disgorgement, restitution, penalties, and fees and costs, as well as damages arising from fraud,

 misrepresentation, and fraudulent inducement.

        Plaintiffs allege as follows:

                                        I.   INTRODUCTION

                                (Applicable to all causes of action)

        1.      This case concerns the anticompetitive conduct of Ticketmaster, to impose higher

 prices on music concert attendees in the presale, sale, and resale market. This included Taylor

 Swift fans, which lead to the ticket sale disaster that occurred on November 15, 2022, and

 November 16, 2022. The disaster continued with the cancellation of general sale tickets,

 scheduled for November 18, 2022. Based on information and belief, Ticketmaster has

 effectuated this anticompetitive scheme by forcing fans of musicians to exclusively use




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 Ticketmaster for presale and sales prices, which are above what a competitive market price

 would be. Ticketmaster has also forced attendees to exclusively use Ticketmaster’s “Secondary

 Ticket Exchange”—i.e., the platform Ticketmaster operates for the resale of concert tickets.

 Defendants have undertaken this anticompetitive conduct for the purpose of obtaining service

 fees and profits that they could not earn in a competitive market for secondary ticket services,

 referred to herein as the “Secondary Ticket Services Market.” Defendant’s anticompetitive

 behavior has substantially harmed and will continue to substantially harm Taylor Swift fans, as

 well as competition in the ticket sales marker and the Secondary Ticket Services Market.

        2.      Taylor Swift and Taylor Swift Management, a global superstar and AMA’s most-

 awarded artist of all time, contracted with Ticketmaster for venues regarding Taylor Swift’s “The

 Eras” Tour. This tour is her first since the pandemic. “Lover Fest”, her 2020 tour, was previously

 canceled due to the COVID-19 pandemic. As one of the most, if not the most, iconic artists in

 the world, millions of fans attempted to purchase tickets to “The Eras” Tour.

        3.      Based on information and belief, at all times, Ticketmaster controlled the

 registration and access to Taylor Swift’s “The Eras” Tour tickets. Ticketmaster announced

 registration for the TaylorSwiftTix presale during November 1-9, 2022. This announcement

 guaranteed a “leveling the playing field without racing against bots-for ticket access”. This

 announcement also announced preferred access to participate in this sale as a “Lover Fest”

 “verified” fan. In order to access this sale, registration was required via the same Ticketmaster

 Account as the “Lover Fest” purchase.

        4.      Based on information and belief, before Defendant’s unlawful conduct caused

 harm in the Secondary Ticket Services Market, Defendant had been active principally in the sale

 of primary or first-sale Taylor Swift tickets. The term “Primary Ticket Market” refers to the




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 market for the primary or first sale of concert tickets, and a “Primary Ticket Platform” is the

 platform for selling and distributing concert tickets.

          5.       Based on information and belief, Ticketmaster has made agreements with the

 stadiums in every location of the Taylor Swift tour, and these stadiums are the only venues able

 to hold large concerts. Because no other venue can hold half as many people as the stadiums and

 venues working through Ticketmaster, Taylor Swift and other popular musicians have no choice

 but to work through Ticketmaster. And because artists like Taylor Swift have to go through

 Ticketmaster, their fans do as well. This means virtually all major music concert ticket sales in

 California and the United States go through Ticketmaster’s Primary Ticket Platform.

          6.       Based on information and belief, Ticketmaster has also expanded into the

 secondary ticket market. For years, scalpers 1 have been a problem in the secondary market.

 Ticketmaster has stated that it has taken steps to address this issue, but in reality, has taken steps

 to make additional profit from the scalped tickets. Ticketmaster forces purchases of tickets from

 its site to use only Ticketmaster’s Secondary Ticket Exchange for the resale of those tickets.

 Ticketmaster then gets the higher fees paid by fans who have no choice but to pay for the “right”

 to use the Ticketmaster Secondary Ticket Exchange platform. By doing so, it has strived and

 succeeded in removing competition from both the Primary and Secondary markets. This has

 gained inflated revenues otherwise unavailable to it. Instead of competition, Ticketmaster has

 conspired with stadiums to force fans to buy more expensive tickets that Ticketmaster gets

 additional fees from every time the tickets are resold.

          7.       Ticketmaster had violated previously violated the terms of its merger with Live



 1Ticket scalpers buy tickets to performances not to attend the performance but to resell the ticket later at an inflated
 price in order to make a profit.




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 Nation in 2019 after it had retaliated against concert venues that chose ticketing companies other

 than Ticketmaster. Based on information and belief, Ticketmaster has continued this behavior

 despite increased judicial scrutiny.

        8.      Based on information and belief, the central components of Ticketmaster’s

 scheme are as follows. First, stadium venues contractually require that the resale of concert

 tickets be effectuated only through Ticketmaster’s Secondary Ticket Exchange. These venues

 have enforced and continue to enforce this requirement, while Ticketmaster continues to allow

 scalpers to buy up tickets over buyers who actually plan to attend the performance. Ticketmaster

 allows transferring tickets but buying tickets this way means a buyer needs to send a ticket

 reseller money and hope they aren’t being scammed and get the ticket. Because of how risky

 buying resold tickets outside of Ticketmaster is, Ticketmaster has left itself as the only real

 choice for buying tickets.

        9.      On November 14, 2022, “verified” fans of the TaylorSwiftTix presale were sent a

 code, as well as a link via text to the cell phone associated with the Ticketmaster

 registration. The text encouraged login via desktop over using a cell phone. Based on

 information and belief, however, thousands of “verified” fans were not sent codes or sent codes

 that did not work.

        10.     Based on information and belief, on November 15, 2022, millions of “verified”

 fans that had received codes were unable to purchase tickets. This was the result of the excessive

 distribution of codes and the addition of 14 million non-verified Ticketmaster users that were

 allowed access to the TaylorSwiftTix presale.

        11.     Ticketmaster also offered a presale for Taylor Swift’s “The Eras” Tour tickets via

 email for Capital One cardholders. The link associated with this sale opened to Ticketmaster.




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 The same registration was required. The last six digits of the Capital One cardholder’s account

 would be used as the code to access ticket sales on November 16, 2022, at 2:00 pm local venue

 time.

         12.     Millions of fans waited up to eight hours and were unable to purchase tickets as a

 result of insufficient ticket releases and other issues similar to the prior presale.

         13.     Ticketmaster had advertised a general ticket sale to Taylor Swift's “The Eras

 Tour” to begin on November 18, 2022. Ticketmaster canceled the general sale on November 17,

 2022, citing the insufficient quality of the remaining tickets.

         14.     Based on information and belief, Ticketmaster intentionally and purposefully

 mislead ticket purchasers by allowing scalpers and bots access to TaylorSwiftTix presale.

         15.     Based on information and belief, Ticketmaster intentionally and purposefully

 mislead TaylorSwiftTix presale ticketholders by providing codes to 1.4 million “verified’ fans

 with the option of purchasing six tickets each to three venue locations. Ticketmaster did not have

 enough seats to meet the demand this number of codes would require. Ticketmaster intentionally

 provided codes when it could not satisfy ticket demand.

         16.     Based on information and belief, Ticketmaster intentionally and knowingly

 partnered with Capital One for presale and advertising tickets. Ticketmaster released less than

 ten percent of the venues’ seating capacity for this sale, resulting in millions denied access to

 even a single ticket.

         17.     Based on information and belief, Ticketmaster intentionally and knowingly

 allowed scalpers and bots access to both ticket sales.

         18.     Based on information and belief, Ticketmaster intentionally and knowingly

 scheduled a general sale of tickets knowing they would not have the quantity necessary to




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 facilitate the sale.

         19.      Based on information and belief, Ticketmaster allowed tickets to be resold during

 the TaylorSwiftTix presale. And Ticketmaster allowed tickets to be resold during the

 TaylorSwiftTix presale as if the tickets were at face value negotiated by Taylor Swift

 Management, when in fact they were double and triple the negotiated price. Ticketmaster was

 eager to allow this arrangement, as Ticketmaster is paid again in additional fees every time a

 ticket is resold. And Ticketmaster restricts official resales to its own Secondary Resale Market.

         20.      Based on information and belief, Ticketmaster intentionally and knowingly

 allowed TaylorSwiftTix presale purchasers to purchase VIP tickets knowing that the mailed

 portion of the VIP package would be voided and never reach the fan.

         21.      Based on information and belief, Ticketmaster intentionally and knowingly sold

 obstructed view tickets without purchasers knowing that the tickets were obstructed.

         22.      Based on information and belief, Ticketmaster intentionally, knowingly, and

 oppressively required signatures on a waiver that the purchaser was not provided adequate time

 to read, contemplate, or negotiate. This is illustrated in the millions of fans making multiple

 failed attempts at ticket check-out to finish the purchase because tickets had been removed from

 their basket without adequate time to check out and purchase tickets.

         23.      Based on information and belief, Ticketmaster knowingly and intentionally

 allowed tickets to be removed from a purchases basket/order before being allowed adequate time

 to review waiver, release, and complete purchase.

         24.      Based on information and belief, Ticketmaster allowed bots and scalpers to

 remove tickets from a fan's basket without being allowed adequate time to complete the sale.

         25.      Based on information and belief, Ticketmaster allowed ADA-compliant seats to




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 be sold without verification of disability or need, thus depriving individuals with disabilities

 access ADA compliant seats.

         26.       The policy and spirit of the California antitrust laws are to promote the free play

 of competitive market forces and the lower prices to consumers that result. Ticketmaster is the

 dominant online venue for concert presale, sale, and resale in the United States, has violated the

 policy, spirit, and letter of those laws by imposing agreements and policies at the retail and

 wholesale level that have prevented effective price competition across a wide swath of online

 ticket sales.

         27.       Based on information and belief, Ticketmaster claims these agreements and

 policies improve customer experiences and keep ticket prices down. This is in spite of the

 massive number of customer complaints Ticketmaster receives every day, the dramatic increase

 in ticket prices since Ticketmaster achieved monopoly power, and the excessive service fees

 Ticketmaster attaches that are far higher than service fees for any similar service in other

 markets. Ticketmaster is a monopoly that is only interested in taking every dollar it can from a

 captive public.

         28.       California antitrust laws are concerned with protecting market competition and

 preventing a single, dominant company from setting overly prices because of its lack of

 competitors. Ticketmaster has allied with stadiums to entrench its dominance to harm consumers

 in California and across the United States.

                                II.     JURISDICTION AND VENUE

         29.       This action is brought under the Cartwright Act, California Business and

 Professions Code section 16720, et seq., and the California Unfair Competition Law, California

 Business and Professions Code section 17200, et seq., for equitable, monetary, and other relief




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 due to Ticketmaster’s unlawful conduct.

        30.     At all relevant times alleged in this Complaint, Ticketmaster did and continues to

 do substantial business in or affecting the State of California, and the injuries that have been

 sustained as a result of Ticketmaster’s illegal conduct occurred in part in California, rendering

 this Court’s exercise of jurisdiction over Ticketmaster proper.

        31.     Venue is proper in the County of Los Angeles because it is the location of

 Ticketmaster’s primary place of business.

                                      III.    THE PARTIES

        A. Plaintiffs

        32.     Plaintiff Julie Barfuss resides and is domiciled in Utah.

        33.     Plaintiff Randy Floyd Barfuss resides and is domiciled in Utah.

        34.     Plaintiff Selena Monette Miller resides and is domiciled in Alabama.

        35.     Plaintiff Rumer Henry resides and is domiciled in Arkansas.

        36.     Plaintiff Christy LaBonne resides and is domiciled in Arkansas.

        37.     Plaintiff Kris LaBonne resides and is domiciled in Arkansas.

        38.     Plaintiff Courtney Butler resides and is domiciled in Arizona.

        39.     Plaintiff Danielle Lips resides and is domiciled in Arizona.

        40.     Plaintiff Mark Burton resides and is domiciled in California.

        41.     Plaintiff Cassandra Diamond resides and is domiciled in California.

        42.     Plaintiff Edward Hakobjanyan resides and is domiciled in California.

        43.     Plaintiff Jose R. Hernandez resides and is domiciled in California.

        44.     Plaintiff Melissa Quintero resides and is domiciled in California.

        45.     Plaintiff Jennifer Uselton resides and is domiciled in California.




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       46.   Plaintiff Clay Murray resides in Rhode Island and is domiciled in California.

       47.   Plaintiff Joseph Akmakjian resides and is domiciled in Colorado.

       48.   Plaintiff Lauren Michele Gotthelf resides and is domiciled in Colorado.

       49.   Plaintiff Kelli Hernandez resides and is domiciled in Colorado.

       50.   Plaintiff Michael Collins resides and is domiciled in Florida.

       51.   Plaintiff Venisha Jardin resides and is domiciled in Florida.

       52.   Plaintiff Emily Niklaus Davis resides and is domiciled in Georgia.

       53.   Plaintiff Jennifer Baggett resides and is domiciled in Georgia.

       54.   Plaintiff Sarah Chattin resides and is domiciled in Kansas.

       55.   Plaintiff Darcy Rubino resides and is domiciled in Massachusetts.

       56.   Plaintiff Jennifer Tierney resides and is domiciled in Massachusetts.

       57.   Plaintiff Karen Brandel resides and is domiciled in Michigan.

       58.   Plaintiff Jessica Becker resides and is domiciled in North Carolina.

       59.   Plaintiff Jennifer Beeman resides and is domiciled in North Carolina.

       60.   Plaintiff Betsy Victoria Wanner resides and is domiciled in North Carolina.

       61.   Plaintiff Katy Johnson resides and is domiciled in North Carolina.

       62.   Plaintiff Andrew Gauteri resides and is domiciled in New Jersey.

       63.   Plaintiff Aytza Gauteri resides and is domiciled in New Jersey.

       64.   Plaintiff Michael Vitulli resides and is domiciled in New Jersey.

       65.   Plaintiff Melony Pugh resides and is domiciled in Ohio.

       66.   Plaintiff Ashleigh Camacho resides and is domiciled in Pennsylvania.

       67.   Plaintiff Anthony Lanni resides and is domiciled in Rhode Island.

       68.   Plaintiff Anthony LeBlanc resides and is domiciled in Rhode Island.




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       69.   Plaintiff Denise Hull resides and is domiciled in Texas.

       70.   Plaintiff Jennifer Landry resides and is domiciled in Texas.

       71.   Plaintiff Kelly Melton resides and is domiciled in Texas.

       72.   Plaintiff Kathleen Milligan resides and is domiciled in Texas.

       73.   Plaintiff Morgan Smallwood resides and is domiciled in Texas.

       74.   Plaintiff Sean Smallwood resides and is domiciled in Texas.

       75.   Plaintiff Crystal Willis resides and is domiciled in Texas.

       76.   Plaintiff Alyssa McCoy resides and is domiciled in Virginia.

       77.   Plaintiff Rebecca Cole resides and is domiciled in Texas.

       78.   Plaintiff Ashley Bove resides and is domiciled in Rhode Island.

       79.   Plaintiff Rummer Henry resides and is domiciled in Little Rock, Arkansas.

       80.   Plaintiff Dawn Weiczorek resides and is domiciled in Chicago, Illinois.

       81.   Plaintiff Maranda Gomez resides and is domiciled in Little Rock, Arkansas.

       82.   Plaintiff Lauren Keating resides and is domiciled in Albany, New York.

       83.   Plaintiff Meghan Clarke resides and is domiciled in Andover, Massachusetts.

       84.   Plaintiff Teena Marie Cook resides and is domiciled in Moline, Illinois.

       85.   Plaintiff Stephanie Palmer resides and is domiciled in Derry, New Hampshire.

       86.   Annie Patota resides and is domiciled in Norfolk, Virginia.

       87.   Paula C. Miller resides and is domiciled in Akron, Ohio.

       88.   Staci Downing resides and is domiciled in Pittsburgh, Pennsylvania.

       89.   Delayna Lutchka resides and is domiciled in Carterville, Illinois.

       90.   Sofia Lewis resides and is domiciled in the United States.

       91.   Jesse Adams resides and is domiciled in the United States.




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       92.    Amanda Frost resides and is domiciled in the United States.

       93.    Holly Taysom resides and is domiciled in Saratoga Springs, Utah.

       94.    Theresa A. Standing resides and is domiciled in St. Peters, Missouri.

       95.    Laura Hastings resides and is domiciled in the United States.

       96.    Sabrina Darnell resides and is domiciled in St. Pekin, Illinois.

       97.    Catherine Bugden resides and is domiciled in Salt Lake City, Utah.

       98.    Janis Houston resides and is domiciled in Naples, Florida.

       99.    Jennifer Hudson resides and is domiciled in the United States.

       100.   Melody Langevin resides and is domiciled in Casa Grande, Arizona.

       101.   Kathleen Beech resides and is domiciled in Studio City, California.

       102.   Skye Landau resides and is domiciled in Newton, Massachusetts.

       103.   Kyle Jordan resides and is domiciled in Atlanta, Georgia.

       104.   Cindy Deimling resides and is domiciled in the United States.

       105.   Danielle Munoz resides and is domiciled in Jurupa Valley, California.

       106.   Abigail Alvord resides and is domiciled in Veneta, Oregon.

       107.   Michael Bascone resides and is domiciled in Howell, New Jersey.

       108.   April Stumpe resides and is domiciled in O’Fallon, Missouri.

       109.   Derek Levesque resides and is domiciled in Norwell, Massachusetts.

       110.   Kiley Krzyzek resides and is domiciled in West Hartford, Connecticut.

       111.   Daniel Reyes resides and is domiciled in College Station, Texas.

       112.   Rosemarie Patterson resides and is domiciled in Milford, New Jersey.

       113.   Gabriella Blunck resides and is domiciled in the United States.

       114.   Anthony Blunck resides and is domiciled in the United States.




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       115.   William R. Noah resides and is domiciled in the United States.

       116.   Jimmy Hoang Ta resides and is domiciled in Kansas City, Missouri.

       117.   Carrie Bastain resides and is domiciled in Evansville, Indiana.

       118.   Brett Andrew Walt resides and is domiciled in King of Prussia, Pennsylvania.

       119.   Audrey Costar resides and is domiciled in the United States.

       120.   Joe Hernandez resides and is domiciled in the United States.

       121.   Adrienne Hernandez resides and is domiciled in the United States.

       122.   Jean Pierre Espinozo resides and is domiciled in Florida.

       123.   Lauren Chappell resides and is domiciled in Jacksonville, Florida.

       124.   Melinda Schneck resides and is domiciled in Macungie, Pennsylvania.

       125.   Lisa Day resides and is domiciled in the United States.

       126.   Megan Joy Skeuse resides and is domiciled in the United States.

       127.   Beatriz Aguilar resides and is domiciled in Clanton, Michigan.

       128.   Chrys Jardin resides and is domiciled in Lutz, Florida.

       129.   Jessica Schroetter resides and is domiciled in the United States.

       130.   Joe Hernandez resides and is domiciled in Eastvale, California.

       131.   Teresa Eichinger resides and is domiciled in Foboro, Massachusetts.

       132.   Jacquelyn Bean resides and is domiciled in O’Fallon, Missouri.

       133.   Kim Bean resides and is domiciled in O’Fallon, Missouri.

       134.   Maverick Wagner resides and is domiciled in Wake Forest, North Carolina.

       135.   Dorothy Lynn Fenton resides and is domiciled in Santa Ana, California.

       136.   Toni Mae B. Abaca resides and is domiciled in Union City, New Jersey.

       137.   Tracey Roman resides and is domiciled in the United States.




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       138.   Timothy Ellis resides and is domiciled in Clara City, Minnesota.

       139.   Glen Bristol resides and is domiciled in Tukwila, Washington.

       140.   Sherry Poniwaz resides and is domiciled in Hubertus, Wisconsin.

       141.   Irene Perez resides and is domiciled in Irvine, California.

       142.   Nikita Ramirez resides and is domiciled in Los Angeles, California.

       143.   Kandice Bridges resides and is domiciled in Dallas, Texas.

       144.   Eileen Haubrich resides and is domiciled in the United States.

       145.   Deborah Snow resides and is domiciled in the United States.

       146.   Samantha Tosetti resides and is domiciled in Weaverville, California.

       147.   Jennifer Pitt resides and is domiciled in the United States.

       148.   Kayleigh Aiello resides and is domiciled in New York.

       149.   Tracy Le resides and is domiciled in Forney, Texas.

       150.   Ashlee Underwood resides and is domiciled in Dalton, Georgia.

       151.   Nancy Cordero resides and is domiciled in the United States.

       152.   Allison McCroan resides and is domiciled in Fort Myers, Florida.

       153.   Matt McCroan resides and is domiciled in Fort Myers, Florida.

       154.   Salomon Passariello resides and is domiciled in the United States.

       155.   Katherine Wagner resides and is domiciled in Dallas, Texas.

       156.   David Kilbridge resides and is domiciled in the United States.

       157.   Jennifer Continillo resides and is domiciled in Hickman, California.

       158.   Christopher Toth resides and is domiciled in Los Angeles, California.

       159.   Hollie Meyers resides and is domiciled in Upland, Indiana.

       160.   Dora Scharf resides and is domiciled in North York, Ontario, Canada.




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       161.   Jason Schacter resides and is domiciled in the United States.

       162.   Lindsay LaFountaine resides and is domiciled in Wilder, Vermont.

       163.   Lisa Sheppard resides and is domiciled in Sebastopol, California.

       164.   Emma Earnest resides and is domiciled in Arden, North Carolina.

       165.   Linda Martin resides and is domiciled in the United States.

       166.   Patrick Dalton resides and is domiciled in Sandwich, Illinois.

       167.   Sofia Ganz resides and is domiciled in Orlando, Florida.

       168.   Jennifer Wilkins resides and is domiciled in Oakland, California.

       169.   Michelle Fera resides and is domiciled in Chandler, Arizona.

       170.   Traci Renee O’Brien resides and is domiciled in Flintridge, California.

       171.   Holly Smith resides and is domiciled in Brentwood, Tennessee.

       172.   Carmen Fiengo resides and is domiciled in Houston, Texas.

       173.   Maura Matvey resides and is domiciled in the United States.

       174.   Sierra Brunner resides and is domiciled in Cresson, Pennsylvania.

       175.   Cleofi Blass resides and is domiciled in Jersey City, New Jersey.

       176.   Katherine Glass resides and is domiciled in Menlo Park, California.

       177.   Rachael Coombs resides and is domiciled in Deerfield, New Hampshire.

       178.   Kaitlin Rose Grogg resides and is domiciled in Easton, Pennsylvania.

       179.   Pam Thaxton resides and is domiciled in Cincinnati, Ohio.

       180.   Carly Thaxton resides and is domiciled in Cincinnati, Ohio.

       181.   Brenda Gallagher resides and is domiciled in the United States.

       182.   Diane Douglas resides and is domiciled in the United States.

       183.   Jacqueline Sonethanouphet resides and is domiciled in the United States.




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       184.   Sean Knepper resides and is domiciled in Austintown, Ohio.

       185.   Kimberly Stevenson resides and is domiciled in the United States.

       186.   Jennifer Kelly resides and is domiciled in Elmhurst, Illinois.

       187.   Alexandria Martelli resides and is domiciled in the United States.

       188.   Cendra Shepherd resides and is domiciled in the United States.

       189.   Jenni Tranweaver resides and is domiciled in the United States.

       190.   Taylor Wooley resides and is domiciled in Norcross, Georgia.

       191.   Katie Younkins resides and is domiciled in Cuyahoga Falls, Ohio.

       192.   Gabriel Gomes resides and is domiciled in the United States.

       193.   Frank Scolaro resides and is domiciled in the United States.

       194.   William O. Watson resides and is domiciled in the United States.

       195.   Angelia Balthaser resides and is domiciled in the United States.

       196.   Heather Slack resides and is domiciled in Beverly Massachusetts.

       197.   Ashley Quellette resides and is domiciled in Pennsauken, New Jersey.

       198.   Ed Massuda resides and is domiciled in the United States.

       199.   Karissa Pitstick resides and is domiciled in the United States.

       200.   Cynthia C. Cole resides and is domiciled in the United States.

       201.   Wally Nunez resides and is domiciled in Ontario, California.

       202.   Michelle Barto resides and is domiciled in Maple Shade, New Jersey.

       203.   Molly Rahe resides and is domiciled in the United States.

       204.   Debbie Brown resides and is domiciled in Delray Beach, Florida.

       205.   Jason Brown resides and is domiciled in Delray Beach, Florida.

       206.   Michelle Robbins resides and is domiciled in the United States.




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       207.   Karl Partch resides and is domiciled in the United States.

       208.   Caroline Mangan resides and is domiciled in Bellingham, Washington.

       209.   Sabrina Hastings resides and is domiciled in Benbrook, Texas.

       210.   Conrad Haubrich resides and is domiciled in the United States.

       211.   John Willis resides and is domiciled in Peoria, Illinois.

       212.   Elisabeth Clapp resides and is domiciled in the United States.

       213.   Shelly Graupner resides and is domiciled in the United States.

       214.   Rafael Ortiz III resides and is domiciled in the United States.

       215.   Lori Brredlove resides and is domiciled in the United States.

       216.   Dustin Spielman resides and is domiciled in the United States.

       217.   Virginia Spielman resides and is domiciled in the United States.

       218.   Rebecca Brown resides and is domiciled in the United States.

       219.   Kevin Brown resides and is domiciled in the United States.

       220.   Chad Gilligan resides and is domiciled in Loveland, Ohio.

       221.   Kristin Gilligan resides and is domiciled in Loveland, Ohio.

       222.   Loren Dunsworth resides and is domiciled in Los Angeles, California.

       223.   Jori Kubek resides and is domiciled in Chicago, Illinois.

       224.   Marissa Kirchner resides and is domiciled in the United States.

       225.   Robert Layman resides and is domiciled in Hoover, Alabama.

       226.   Kacey L. Burgess resides and is domiciled in the United States.

       227.   Elizabeth Campbell resides and is domiciled in Woodstock, Virginia.

       228.   Jennifer Mathieu resides and is domiciled in Wheeling, West Virginia.

       229.   Tyrel Hartman resides and is domiciled in Denver, Colorado.




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       230.   Michael Uselton resides and is domiciled in the United States.

       231.   Rebecca Van Dale resides and is domiciled in the United States.

       232.   Grace Van Dale resides and is domiciled in the United States.

       233.   Jessica Krizman resides and is domiciled in Providence, Rhode Island.

       234.   Cindy Mueth resides and is domiciled in Smithton, Illinois.

       235.   Anella Strudler resides and is domiciled in the United States.

       236.   Jennifer Hoppe resides and is domiciled in the United States.

       237.   Antonia Mascari resides and is domiciled in Zionsville, Indiana.

       238.   Veronica Higareda resides and is domiciled in the United States.

       239.   Ian Clites resides and is domiciled in the United States.

       240.   Angela Dunbar resides and is domiciled in Louisville, Kentucky.

       241.   Tatyana Bardash resides and is domiciled in the United States.

       242.   Lora Ellis resides and is domiciled in New Bern, North Carolina.

       243.   Larissa Solomon resides and is domiciled in San Francisco, California.

       244.   Jessica Taylor resides and is domiciled in the United States.

       245.   Kathleen Owens resides and is domiciled in the United States.

       246.   Kenneth Engleson resides and is domiciled in Fuquay Varina, North Carolina.

       247.   Monica Engleson resides and is domiciled in Fuquay Varina, North Carolina.

       248.   Nicholas Engleson resides and is domiciled in High Point, North Carolina.

       249.   Jennifer Vieira resides and is domiciled in Attleboro, Massachusetts.

       250.   Cavan Farley resides and is domiciled in the United States.

       251.   Tiffany Bray resides and is domiciled in Philadelphia, Pennsylvania.

       252.   Emily Gaudet resides and is domiciled in New Haven, Connecticut.




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       253.   Elizabeth Atkinson resides and is domiciled in Fort Worth, Texas.

       254.   Genesis Borrero resides and is domiciled in the United States.

       255.   Melissa Bailey resides and is domiciled in Sutersville, Pennsylvania.

       256.   Eleana Villa resides and is domiciled in the United States.

       257.   Telka Becker resides and is domiciled in the United States.

       258.   Michele Fiedler resides and is domiciled in Philadelphia, Pennsylvania.

       259.   Amy Maupin resides and is domiciled in the United States.

       260.   Xiao Sebastien Sang resides and is domiciled in Cerritos, California.

       261.   Wendy Thomas resides and is domiciled in the United States.

       262.   Daniel Reyes resides and is domiciled in College Station, Texas.

       263.   Mary Kirk resides and is domiciled in the United States.

       264.   Maribel Serrao resides and is domiciled in Long Beach, California.

       265.   Madison Shaner resides and is domiciled in Denver, Colorado.

       266.   Rochelle Castrillo resides and is domiciled in the United States.

       267.   Michael Berlin resides and is domiciled in the United States.

       268.   Robert Noah resides and is domiciled in the United States.

       269.   Ashlynn Alexander resides and is domiciled in the United States.

       270.   Alyra Parker resides and is domiciled in Wilmington, Delaware.

       271.   Nicholas Ritter McGee resides and is domiciled in the United States.

       272.   Bruce Nuneley resides and is domiciled in the United States.

       273.   Stacy Lestage resides and is domiciled in Sylvania, Ohio.

       274.   Dawn Adrian resides and is domiciled in Salinas, California.

       275.   Kristen Newman resides and is domiciled in Escondito, California.




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        276.    Penny Harrison resides and is domiciled in Potomac, Maryland.

        277.    Mary Vandiver resides and is domiciled in the United States.

        278.    Jessica VanWinkle resides and is domiciled in the United States.

        279.    Mykenzie Day resides and is domiciled in the United States.

        280.    Jennifer Lemeke resides and is domiciled in the United States.

        281.    Shannon Larsen resides and is domiciled in Oviedo, Florida.

        282.    Bandy Adams resides and is domiciled in Louisville, Kentucky.

        283.    Bradley Emerson resides and is domiciled in Austin, Texas.

        284.    Katherine L. Eaves resides and is domiciled in Norman, Oklahoma.

        285.    Natalie Cruze resides and is domiciled in the United States.

        286.    Joanna Cooper resides and is domiciled in the United States.

        287.    Tammy Steeves resides and is domiciled in the United States.

        288.    Based on information and belief, all plaintiffs are adult individuals.

        B. Defendants

        289.    Defendant LIVE NATION ENTERTAINMENT, INC. is a Delaware corporation

 with its principal place of business at 9348 Civic Center Drive, Beverly Hills, Calfornia 90210.

        290.    Defendant TICKETMASTER L.L.C. is a wholly owned subsidiary of LIVE

 NATION ENTERTAINMENT, INC., and is a limited liability company organized and existing

 under the laws of Virginia with its principal place of business at 9348 Civic Center Drive,

 Beverly Hills, California 90210.

        291.    Ticketmaster is the largest ticketing company and the dominant provider of

 Primary Ticket Platform services in the U.S. with 2014 revenues of approximately $1.55 billion.

 Ticketmaster, through its TicketExchange, TicketsNow, and TM+ brands, also provides




                                                                                          Exhibit 1
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 Secondary Ticket Exchange services in the U.S. Ticketmaster also merged with Live Nation in

 2010 to gain even greater market dominance.

        292.    Ticketmaster has been the exclusive provider of Primary Ticket Platform services

 for concert venues for many years and is the exclusive Secondary Ticket Exchange partner for

 most if not all of them. As discussed more fully below, as part of the

 exclusive Secondary Ticket Exchange partnership that Ticketmaster has with these concert

 venues, Ticketmaster is promoted as the only “official” Secondary Ticket Exchange and refuses

 to allow any other Secondary Ticket Exchange to integrate technically with Ticketmaster’s

 Primary Ticket Platform. In addition, Ticketmaster is the only “authorized” channel through

 which Taylor Switch ticket holders may sell or transfer their tickets.

        C. DOE defendants and agency

        293.    Plaintiff is unaware of the true identity, nature, and capacity of each of the

 defendants designated DOES 1 through 100. Plaintiff is informed and believes and thereon

 alleges that each of these defendants is in some way responsible for the damages and injuries

 alleged in the complaint. Plaintiff is further informed and believes and thereon alleges that

 DOES 1 through 100 include but are not limited to the following: various persons, firms,

 corporations, organizations, and/or other business entities, that have participated as co-

 conspirators in the conduct, acts, omissions, and violations alleged herein as the basis for liability

 and have performed acts in furtherance of these conspiracies.

        294.    At all times material to the allegations of this complaint each of the defendants

 was the agent and/or employee of each of the codefendants, including named and DOE

 defendants, and in doing the things hereinafter alleged was acting within the course and scope of

 such agency and/or employment and with the permission and consent of all their co-defendants.




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 All references to Ticketmaster and/or Live Nation Entertainment, Inc. include all defendants

 named or sued under the identity of a DOE defendant.

                                IV.        FIRST CAUSE OF ACTION

                                         (As against all defendants)

                                             Breach of Contract

 295.    Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 296.    Plaintiffs entered into a Contract with Ticketmaster on November 15, 2022, setting forth

 the covenants, conditions, and terms of the parties’ agreement. The material terms of the

 contract include, but are not limited to, the following: Defendant agreed that, in exchange for

 Plaintiffs purchasing a significant amount of merchandise and/or in exchange for their purchase

 of the canceled “Lover’s Fest” tickets, Plaintiffs would be entitled to participate in the presale of

 “The Eras” tour tickets. Only those individuals who satisfied either of these conditions would be

 allowed into the presale via a code as a “verified” fan and have preferred status to purchase

 tickets. Plaintiffs relied upon and accepted such terms and cond itions, thereby purchasing

 merchandise and/or accepting the benefit from the canceled “Lover’s Fest.”

 297.    Plaintiffs have performed all obligations to Ticketmaster except those obligations

 Plaintiffs were prevented or excused from performing.

 298.    Ticketmaster breached the Contract by failing to actually provide the proper presale it

 promised. It did not exclude those without codes. It did not give out codes to those who

 qualified. And it did not give those with codes the fair chance to get a ticket they were entitled

 to. Plaintiffs and Ticketmaster had an agreement leading up to the presale that made a contract

 and Ticketmaster violated it to Plaintiffs’ detriment.




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 299.    Plaintiffs sustained damages proximately caused by Ticketmaster under this cause of

 action in the amount of thousands of dollars.

 300.    Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

                              V.         SECOND CAUSE OF ACTION

                                     (As against all defendants)

                                     Intentional Misrepresentation

 301.    Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 302.    Ticketmaster made statements to Plaintiffs about the presale for Taylor Swift tickets,

 particularly regarding how to get codes, who would get codes, how to get tickets, and who would

 be able to be part of the presale. Ticketmaster also failed to disclose that they had sent more

 codes than they could accommodate with tickets. Ticketmaster had no intention of following

 these statements to Plaintiffs. Ticketmaster willfully, purposely, and intentionally deceived

 Plaintiffs for its own benefit.

 303.    Ticketmaster did not give everyone a code that it said was entitled to one. Codes would

 arbitrarily be denied, even though many Plaintiffs had paid good money.

 304.    Ticketmaster gave instructions on how to get tickets, including warning buyers, including

 Plaintiffs, not to use their phones. Ticketmaster advised using a laptop or desktop computer.

 However, not only were phone users able to get tickets, but they were also able to get ahead of

 those on computers.

 305.    Ticketmaster claimed that only those with codes would be able to join the presale, but

 millions of buyers without codes were able to get tickets. Many of those without codes were

 scalpers, and Ticketmaster benefited from scalped tickets as they must be resold on




                                                                                            Exhibit 1
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 Ticketmaster, who gets an additional fee.

 306.    Ticketmaster gave out more codes than tickets. Even if millions of buyers without codes

 had been given tickets, only about half of those with codes would be able to get tickets.

 307.    Ticketmaster reserved some tickets for the Capital One sale, but it was plagued by the

 same issues as the presale.

 308.    All of these issues led to the disaster that was the Taylor Swift “The Eras” tour ticket

 sale. Ticketmaster was responsible for addressing every issue. Ticketmaster either intended for

 this to happen from the beginning or knew these issues were present, yet Ticketmaster

 intentionally made no mention of this and hid information from buyers, including Plaintiffs.

 309.    Plaintiffs sustained damages proximately caused by Ticketmaster under this cause of

 action in the amount of thousands of dollars.

 310.    Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

                               VI.       THIRD CAUSE OF ACTION

                                      (As against all defendants)

                                                 Fraud

 311.    Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 312.    Ticketmaster engaged in the above behavior with the intent to defraud Plaintiffs. One of

 the ways buyers such as Plaintiffs could be “verified” was by spending a certain amount of

 money on official Taylor Swift merchandise. Ticketmaster made out that spending enough would

 get a buyer a code and they would have a fair chance to get a ticket. Neither statement was true,

 but by misleading Plaintiffs, Ticketmaster was able to get buyers and many Plaintiffs to buy

 merchandise. Ticketmaster had an agreement with the merchandise sellers and benefited from




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 the additional money spent on merchandise.

 313.   Ticketmaster also benefited from their misleading the buyers of the canceled Taylor Swift

 “Lover Fest” tour. By making similar promises to these buyers, which included some Plaintiffs,

 Ticketmaster was able to appease any issue these buyers and Plaintiffs had with Ticketmaster’s

 handling of the prior tour following its cancelation due to COVID-19.

 314.   Ticketmaster made these promises without any intent to perform as expected.

 Ticketmaster intended to induce performance from Plaintiffs and other buyers for its own

 benefit. Ticketmaster concealed all the issues it knew would be present in the presale.

 315.   Plaintiffs reasonably relied upon Ticketmaster’s material representations and promises,

 which turned out not to be true and/or made by Ticketmaster without any intent to actually

 perform. Ticketmaster never had the requisite intent or ability to perform their obligations under

 the Contract. Had Plaintiffs known the actual facts, or that Ticketmaster never intended to

 perform their promises, Plaintiffs would not have entered into the Contract or invested in the

 transaction by buying a large amount of Taylor Swift Merchandise.

 316.   Plaintiffs sustained damages proximately caused by Ticketmaster under this cause of

 action in the amount of thousands of dollars, which is a reasonable value.

 317.   Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 318.   Ticketmaster’s acts and omissions stated herein constitute fraud as defined in California

 Civil Code section 3294 and Plaintiffs should recover, in addition to actual damages, damages to

 make an example of and to punish Ticketmaster in an amount to be proven at trial.

                             VII.   FOURTH CAUSE OF ACTION

                                    (As against all defendants)

                                      Fraudulent Inducement




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 319.    Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 320.    By way of the wrongful acts and omissions as alleged herein, Ticketmaster will be

 unjustly enriched if they are able to profit from Plaintiffs’ actions free from any claims by

 Plaintiffs.

 321.    Plaintiffs are informed and believe that Plaintiffs’ claims against Ticketmaster are

 actionable and recoverable. Plaintiffs sustained damages proximately caused by Ticketmaster

 under this cause of action in the amount of thousands of dollars, which is a reasonable value.

 322.    Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 323.    Ticketmaster’s acts and omissions stated herein constitute fraud as defined in California

 Civil Code section 3294 and Plaintiffs should recover, in addition to actual damages, damages to

 make an example of and to punish Ticketmaster in an amount to be proven at trial.

                                VIII. FIFTH CAUSE OF ACTION

                                      (As against all defendants)

                                          Antitrust Violations

 324.    Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 325.    There is an actual controversy between Plaintiffs on the one hand and Defendant on the

 other hand as to their rights, obligations, and interests concerning the Contract and/or the

 Property.

 326.    Due to this actual controversy, Plaintiffs are entitled to a determination of their rights and

 obligations concerning the Contract and the Property pursuant to an equitable order of

 declaratory relief.




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 327.    Ticketmaster’s coordinated efforts to foreclose competition in the Secondary Ticket

 Services Market constitute a violation of the Cartwright Act.

 328.    Ticketmaster has been able to accomplish this violation because of the individual and

 collective market power that Golden State and Ticketmaster wield over the sale of Taylor Swift

 tickets through Primary Ticket Platforms.

 329.    Ticketmaster’s coordinated illegal acts and efforts to force ticket holders to use

 Ticketmaster as their exclusive provider of Secondary Ticket Exchange services; monitor,

 enforce and/or coerce compliance with their restrictive policies; exclusively market and promote

 Ticketmaster has achieved and will achieve no legitimate efficiency benefits to counterbalance

 their demonstrated anticompetitive effects, including the foreclosure of competition in the

 Secondary Ticket Services Market.

 330.    Ticketmaster’s conspiracy to monopolize the Secondary Ticket Services Market,

 Ticketmaster’s illegal exclusive dealing arrangements, Ticketmaster’s attempted monopolization

 of the Secondary Ticket Services Market, and other illegal acts in furtherance thereof each also

 constitute a violation of the Cartwright Act.

 331.    As a result of Ticketmaster’s violation of the Cartwright Act, Plaintiffs have been and

 will continue to be injured in its business and property in an amount not presently known with

 precision, but which is, at minimum, thousands of dollars prior to trebling.

                               IX.       FIRST ANTITRUST CLAIM

                                           Unlawful Tying

 332.    Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 333.    Ticketmaster’s conduct in foreclosing competition in the Secondary Ticket Services




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 Market for Taylor Swift tickets constitutes an illegal tying arrangement in violation of the

 California Business and Professional Code. Cal. Bus. & Prof. Code, § 16727, et. seq. A tying

 arrangement is a conditional selling dependent on the purchase of another product or service.

 334.   The Primary Ticket Market and the Secondary Ticket Services Market are distinct and

 separate markets. Taylor Swift and other touring musician tickets sold in the Primary Ticket

 Market and Secondary Ticket Exchange services are distinct products.

 335.   Ticketmaster possesses substantial market power over the sale of Taylor Swift and other

 touring musician tickets in the Primary Ticket Market. For those seeking to purchase primary

 Taylor Swift tickets, there is no other option but to make these purchases through Ticketmaster’s

 Primary Ticket Platform, at the price set by Ticketmaster, and on Ticketmaster’s terms.

 336.   Ticketmaster and all the venues part of Taylor Swift’s upcoming tour have agreed to and

 do mandate that all Taylor Swift tickets sold in the Primary Ticket Market is not resold in the

 Secondary Ticket Services Market other than through Ticketmaster’s Secondary Ticket

 Exchange. Ticketmaster has actually canceled or threatened to cancel tickets in other cases

 unless ticket holders agree to use Ticketmaster exclusively for Secondary Ticket Exchange

 services. Ticketmaster has also previously revoked or threatened to revoke its continued sale of

 primary tickets to season ticket holders who are identified as reselling their primary tickets

 through any Secondary Ticket Exchange provider other than Ticketmaster. Thus, Ticketmaster is

 tying the sale of Taylor Swift tickets sold in the Primary Market to Ticketmaster’s Secondary

 Ticket Exchange services for the resale of Taylor Swift tickets. As a result of this tying

 arrangement, Taylor Swift ticket holders, who would otherwise prefer the Secondary Ticket

 Exchange services of providers other than Ticketmaster, including those offered by StubHub,

 have been forced to use Ticketmaster for Secondary Ticket Exchange services.




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 337.    This tying arrangement – which has been reinforced and strengthened by the concert

 venues’ exclusive marketing, promotion, and integration of Ticketmaster for Secondary Ticket

 Exchange services – has substantially foreclosed other Secondary Ticket Exchange providers

 from competing in the Secondary Ticket Services Market, thereby affecting a not insubstantial

 volume of commerce. It has harmed and will continue to harm competition in that market by

 forcing Taylor Swift ticket buyers and sellers in the Secondary Ticket Services Market to pay

 artificially high fees and by reducing the quantity and quality of secondary Taylor Swift tickets

 available for sale in the Secondary Ticket Services Market and has reduced the quantity of

 tickets actually sold in the Secondary Ticket Services Market.

 338.    Ticketmaster also created a tying arrangement regarding the presale of tickets for Taylor

 Swift’s “The Eras” tour in the Primary Ticket Services Market.

 339.    In order for potential buyers to be able to purchase tickets during the presale, they needed

 to be a “verified” Taylor Swift fan. Buyers could prove their verification status by having tickets

 to Taylor Swift’s prior tour, “Lover Fest”, which was canceled due to COVID-19. The other way

 to obtain verification was for a buyer to buy a non-insignificant amount of Taylor Swift

 merchandise. There was no cost-free way for a buyer to become verified, purchase of additional,

 separate items was required to be “verified”. Once verified, a buyer would be given a code. This

 code was supposed to be the only way to buy tickets during the presale.

 340.    On the day of the presale, it became clear that getting tickets during the presale would be

 the only real way to get tickets from the Primary Ticket Services Market. Without engaging in

 the tying arrangement Ticketmaster had with the prior tour or the merchandise, it would have

 been impossible for non-verified buyers to get tickets. With 1.4 million codes allowing a buyer

 to get up to 6 tickets, there were not going to be any tickets left after the pre-sale. Even if the sale




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 of Taylor Swift tickets had gone as planned, buyers were being forced to pay additional fees just

 to have the chance of buying tickets.

 341.       There are no legitimate business justifications or efficiencies for either of Ticketmaster’s

 tying arrangements that counterbalance their demonstrated anticompetitive effects.

 342.       This tying arrangement constitutes a violation Cal. Bus. & Prof. Code, §§ 16720, 16727.

 Under California law, this is a per se violation. People v. National Association of Realtors (1984)

 155 Cal. App. 3d 578, 583 [202 Cal. Rptr. 243] (“Tying arrangements are illegal per se

 ‘whenever a party has sufficient economic power with respect to the tying product to appreciably

 restrain free competition in the market for the tied product’ [citations removed] and when ‘a total

 amount of [10 Cal. App. 4th 1361] business, substantial enough in terms of dollar-volume so as

 not to be merely de minimis, is foreclosed to competitors by the tie. ...’”).

 343.       As a result of Ticketmaster’s illegal tying arrangements, Plaintiffs have been and will

 continue to be injured in their property in an amount not presently known with precision, but

 which is, at minimum, over a thousand dollars with trebling per Plaintiff.

 344.       Ticketmaster’s antitrust violations have caused substantial economic injury to Plaintiffs

 in an amount not presently known with precision, but which is, at minimum, thousands of

 dollars.

 345.       Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 346.       Ticketmaster’s violations of California antitrust law are expansive that Plaintiffs should

 recover, in addition to actual damages, damages to make an example of and to punish

 Ticketmaster in an amount to be proven at trial.

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                              X.         SECOND ANTITRUST CLAIM

                                           Exclusive Dealings

 347.    Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 348.    Ticketmaster’s conduct has allowed it to control the supply of tickets to music concerts.

 In order for artists like Taylor Swift to sell to buyers wanting to see them in concert, the buyers

 and artists must go through Ticketmaster. This has forced both groups into exclusive dealings

 with Ticketmaster that lessen competition as well as created and strengthened Ticketmaster’s

 monopolistic power, which violates California law. See Cal. Bus. & Prof. Code, § 16727.

 349.    Ticketmaster has dominant, monopolistic power in the market of Primary and Secondary

 Ticket Sales markets. Ticketmaster currently controls over 70% of this market. Ticketmaster’s

 high market share as well as its agreements with concert venues have given it extreme power.

 While a small percentage of concert venues use other providers, for most Californians and

 Americans, Ticketmaster is the only provider available.

 350.    Ticketmaster’s forced exclusive dealings have allowed it to charge above-market prices

 and excessive fees while preventing competition against them. In markets without a singular,

 monopolistic company, charging prices and fees like Ticketmaster would be impossible. And

 Ticketmaster does not do anything to justify these higher costs. Ticketmaster’s service is not

 superior or reliable; the massive disaster of the Taylor Swift presale is evidence enough of this.

 Ticketmaster does not charge high prices to give a better service, it charges higher prices because

 it has no real competition and wants to take every dollar it can from buyers.

 351.    The foreclosure of competition has led to increased prices and/or decreased output and

 has harmed competition.




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 352.       There is no legitimate business justification or efficiency gained for these exclusive

 dealings. All it does it take money from the hands of artists and buyers and into the hands of

 Ticketmaster, a purely anticompetitive effect that is actionable under California law. See Gianelli

 Distributing Co. v. Beck & Co., 172 Cal. App. 3d 1020 (1985). As a result, Plaintiffs have been

 and will continue to be injured in their property.

 353.       Ticketmaster’s antitrust violations have caused substantial economic injury to Plaintiffs

 in an amount not presently known with precision, but which is, at minimum, thousands of

 dollars.

 354.       Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 355.       Ticketmaster’s violations of California antitrust law are expansive that Plaintiffs should

 recover, in addition to actual damages, damages to make an example of and to punish

 Ticketmaster in an amount to be proven at trial.

                                 XI.     THIRD ANTITRUST CLAIM

                                            Price Discrimination

 356.       Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 357.       Ticketmaster’s conduct in its dynamic pricing and manipulation of its Secondary Ticket

 Services Market for Taylor Swift tickets constitutes price discrimination in violation of the

 California Business and Professional Code. Cal. Bus. & Prof. Code, § 17301, et. seq.; See Harris

 v. Capitol Records Distributing Corp. (1966) 64 Cal.2d 454. Price discrimination involves giving

 different prices to different buyers for comparable goods.

 358.       Not all concert tickets are of equal value. Different venues may vary in general admission

 prices, groups of seats vary in desirability, and some tickets contain VIP benefits. However, seats




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 that have about the same view of the musician, at the same venue, and with the same amount of

 VIP benefits are essentially equal in value and should be at or a similar price.

 359.   Under Ticketmaster’s dynamic pricing scheme, comparable tickets were sold at radically

 different prices. Dynamic pricing is when Ticketmaster raises the prices of tickets as more tickets

 are selling, justifying it as the tickets are more in demand and, and are thus more valuable.

 Taylor Swift did not opt for dynamic pricing, but Ticketmaster implemented it anyways.

 360.   Ticketmaster justifies this pricing as meeting demand. However, this argument is

 nonsensical. Ticketmaster does not raise prices when a large number of people are in a waiting

 queue to buy tickets, it only raises ticket prices as fewer tickets remain. Rather than “meeting

 demand”, Ticketmaster arbitrarily punishes the people that were unable to get to the front of the

 line. Those who buy tickets under Dynamic pricing are paying higher prices solely because

 Ticketmaster has created the flimsiest of excuses to justify anticompetitively taking additional

 money for itself.

 361.   Ticketmaster’s behavior has not been to the benefit of honest buyers, but to the benefit of

 scalpers. Ticketmaster failed to stop millions of people without codes from buying during the

 presale, many of whom were scalpers. And Ticketmaster benefits from scalpers. Ticketmaster

 gets additional fees every time a ticket is resold, and Ticketmaster is the only place where tickets

 can be officially resold. Ticketmaster also prevents sellers from charging below a certain price.

 Ticketmaster has set up a system where scalping is not only allowed, but tacitly encouraged. And

 Ticketmaster is able to do all of this because of its monopoly power. As a result of

 Ticketmaster’s behavior, Plaintiffs have been and will continue to be injured in their property.

 362.   Ticketmaster’s antitrust violations have caused substantial economic injury to Plaintiffs

 in an amount not presently known with precision, but which is, at minimum, thousands of




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 dollars.

 363.       Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 364.       Ticketmaster’s violations of California antitrust law are expansive that Plaintiffs should

 recover, in addition to actual damages, damages to make an example of and to punish

 Ticketmaster in an amount to be proven at trial.

                                XII.     FOURTH ANTITRUST CLAIM

                                                Price Fixing

 365.       Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 366.       Ticketmaster’s conduct of allying with scalpers and venues has amounted to price fixing.

 Horizontal Price fixing involves competitors allying to set one price for any product, commodity,

 or service through any agreement to raise, stabilize or otherwise affect prices. This agreement

 does not need to be formalized.

 367.       This agreement has allowed Ticketmaster to raise prices above what it would be able to

 otherwise. Because Ticketmaster has competitors like SeatGeek charge ticket prices at the same

 cost as Ticketmaster, it prevents buyers from being able to find a cheaper alternative. The only

 way prices could stay this high for both Ticketmaster and its competitors is through an

 agreement between them in violation of California antitrust laws.

 368.       Ticketmaster has also committed Vertical Price Fixing. Vertical price fixing makes any

 agreement between a buyer and seller regarding the price at which the buyer resells a product is

 illegal. Under California law, this is a per se violation of the Cartwright Act. Mailand v. Burckle,

 20 Cal. 3d 376 (Cal. 1978).

 369.       Ticketmaster has controlled the resale of tickets bought through it. Ticketmaster forces




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 buyers to resell on its platform. And Ticketmaster controls what prices the buyer can resell at.

 This prevents the price of tickets from falling and forces new buyers to pay higher prices under

 Dynamic prices. If Ticketmaster did not do this, it might decrease the number of people willing

 to pay for the monopolistic priced Dynamic Pricing tickets.

 370.       Ticketmaster’s horizontal and vertical price fixing have harmed Plaintiffs, and as a

 result, Plaintiffs have been and will continue to be injured in their property.

 371.       Ticketmaster’s antitrust violations have caused substantial economic injury to Plaintiffs

 in an amount not presently known with precision, but which is, at minimum, thousands of

 dollars.

 372.       Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 373.       Ticketmaster’s violations of California antitrust law are expansive that Plaintiffs should

 recover, in addition to actual damages, damages to make an example of and to punish

 Ticketmaster in an amount to be proven at trial.

                                  XIII. FIFTH ANTITRUST CLAIM

                                             Group Boycotting

 374.       Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 375.       Ticketmaster is also beholden to the agreement it had with the Justice Department,

 forbidding it from threatening concert venues with losing access to its tours if those venues

 decided to use ticketing providers other than Ticketmaster. This agreement has been extended to

 2025. Despite this agreement, Ticketmaster has continued to engage in group boycotting, where

 competitors ally together to boycott any specific entity.

 376.       Ticketmaster has gathered to a group boycott with competitors like SeatGeek in its




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 relevant market to refuse to conduct business with any competitor that does not conform to

 Ticketmaster’s demands. Ticketmaster does this through its monopolistic size and power as well

 as its collusion with concert venues. Any competitor of Ticketmaster that does conform to its

 demands will be barred from doing business with most if not all large concert venues. This has

 been done to both inflate prices and prevent new competitors from entering the market, all to

 Ticketmaster’s benefit.

 377.       The Ticketmaster-led group boycotting is a violation of California law and helped keep

 ticket prices at an above-market price. It also allowed Ticketmaster to force Plaintiffs to buy

 tickets at these inflated prices to Plaintiffs’ harm, and as a result, Plaintiffs have been and will

 continue to be injured in their property.

 378.       Ticketmaster’s antitrust violations have caused substantial economic injury to Plaintiffs

 in an amount not presently known with precision, but which is, at minimum, thousands of

 dollars.

 379.       Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 380.       Ticketmaster’s violations of California antitrust law are expansive that Plaintiffs should

 recover, in addition to actual damages, damages to make an example of and to punish

 Ticketmaster in an amount to be proven at trial.



                                 XIV. SIXTH ANTITRUST CLAIM

                                          Market Division Scheme

 381.       Plaintiffs reallege and incorporate by reference each and every other paragraph of this

 complaint as if fully set forth here.

 382.       Ticketmaster has engaged in a market division scheme, by which it has divided customers




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 into certain regions with its competitors. This is a violation of California antitrust law.

 383.       Ticketmaster has monopoly power, but it still has smaller competitors. It has specifically

 carved out small territories to give to competitors like SeatGeek in an attempt to hide the level of

 monopolistic power and control Ticketmaster has. In exchange for giving SeatGeek territory,

 Ticketmaster has made SeatGeek set price tickets at the same high price as Ticketmaster. This

 allows these competitors to set high prices and not actually compete with each other.

 384.       There are no pro-competitive benefits to this arrangement. This arrangement has

 effectively ended competition in this market and has allowed Ticketmaster to unilaterally set

 prices. Buyers have no choice in who they buy tickets from and are forced to pay monopolistic

 pricing set by Ticketmaster.

 385.       Ticketmaster has carved up the market by territory to keep prices high. This has allowed

 them to continue their monopolistic control and pricing, and as a result, Plaintiffs have been and

 will continue to be injured in their property.

 386.       Ticketmaster’s antitrust violations have caused substantial economic injury to Plaintiffs

 in an amount not presently known with precision, but which is, at minimum, thousands of

 dollars.

 387.       Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 388.       Ticketmaster’s violations of California antitrust law are expansive that Plaintiffs should

 recover, in addition to actual damages, damages to make an example of and to punish

 Ticketmaster in an amount to be proven at trial.

                                  XV.     SIXTH CAUSE OF ACTION

                                Violation of California UCL Section 17200

 389.       Plaintiffs reallege and incorporate by reference each and every other paragraph of this




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 complaint as if fully set forth here.

 390.    160. Ticketmaster has used additional, unfair practices to make it difficult for ticket

 holders to sell their tickets on competitive Secondary Ticket Exchanges. Ticketmaster has done

 this by leveraging its position as a dominant provider of Primary Ticket Platforms.

 391.    As found by the Department of Justice, Ticketmaster has historically dominated Primary

 Ticket Platform services. It has maintained its dominance in this business by entering into

 numerous multi-year, exclusive contracts with leagues, teams, and venues. Indeed,

 Ticketmaster’s market power in the Primary Ticket Platform services is evidenced by the high

 fees that it has charged and continues to charge for Primary Ticket Platform services – fees that

 are substantially higher than fees charged by other Primary Ticket Platform competitors.

 392.    Moreover, Ticketmaster’s market power in Primary Ticket Platform services is buttressed

 by high barriers to entry and expansion in this business, including barriers created by

 Ticketmaster’s threats to enforce its multi-year, exclusive agreements. Ticketmaster has, for

 example, threatened action against StubHub, a much smaller competitor, for even approaching

 Ticketmaster business partners with offers to sell additional, unsold ticket inventory, claiming

 that such overtures would constitute tortious interference with Ticketmaster’s exclusive

 contracts. Specifically, Ticketmaster cautioned StubHub that: “It has come to our attention that

 StubHub is approaching Ticketmaster clients seeking to sell our client’s primary tickets. As is

 well known in the industry. . . Ticketmaster’s client ticketing contracts are generally exclusive

 and therefore contain contractual commitments by our clients not to sell primary tickets through

 any third-party.” Ticketmaster has likewise imposed contractual restrictions in its Primary Ticket

 Platform contracts that preclude teams, leagues, and venues from distributing any of their ticket

 inventory via actual or potential competitors.




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 393.   Specifically, Ticketmaster exercised its dominance in Primary Ticket Platform services

 by delaying the delivery of the electronic copy of the originally purchased, primary ticket or the

 barcode associated with that ticket to the primary ticket purchaser. Ticketmaster has chosen to

 delay the delivery of PDF images or barcodes associated with original, primary tickets for

 numerous musical concerts until weeks or months after the ticket was purchased and only a few

 days before the relevant event.

 394.   This practice makes it extremely difficult for a primary ticket purchaser to resell his or

 her ticket on competitive non-Ticketmaster Secondary Ticket Exchanges. Indeed, the delaying of

 the delivery of these tickets or bar codes effectively bars the reseller from selling that ticket on a

 competitive Secondary Ticket Exchange. This is because ticket purchasers are reluctant to

 purchase a ticket on a Secondary Ticket Exchange from a stranger (with no brand recognition) in

 the hope that the reseller will transfer the tickets weeks or months after a secondary ticket

 purchase occurs.

 395.   Of course, Ticketmaster facilitates secondary purchases on its own Secondary Ticket

 Exchange even before delivering the primary ticket to the reseller: it guarantees that it will

 directly deliver the ticket to the secondary purchaser at the designated delivery time, likely a few

 days before the event, if a secondary transaction is made. StubHub and other competitive

 Secondary Ticket Exchanges cannot provide this same direct delivery guarantee because they are

 barred from electronically integrating with Ticketmaster’s Primary Ticket Platform.

 396.   Accordingly, this Ticketmaster practice of delaying delivery of primary tickets has

 caused ticket holders to incur consumer harm and has caused competitive foreclosure to

 Secondary Ticket Exchanges.

 397.   Another tactic in which Ticketmaster has engaged to leverage its dominance in Primary




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 Ticket Platform services is its increased issuance of so-called paperless tickets. These virtual

 tickets allow entry to the event only upon showing at the gate picture identification and the credit

 card used for the purchase. Transferring or reselling these tickets is only possible through

 Ticketmaster’s Secondary Ticket Exchange platform. According to the independent American

 Antitrust Institute, “[i]nstead of benefiting consumers, the trend favoring paperless tickets

 appears to be motivated by a desire of the dominant primary ticket provider to block out

 competition in the secondary ticket (resale) market.”

 398.    These practices are unlawful business acts or practices within the meaning of Section

 17200 of California’s Unfair Competition Law (“UCL”).

 399.    Ticketmaster has also made deceptive and/or false statements intended to mislead

 consumers about the reliability of other Secondary Ticket Exchange, the authenticity of Taylor

 Swift tickets sold on other Secondary Ticket Exchange, and the ability of purchasers to obtain

 secondary Taylor Swift tickets from sources other than Ticketmaster.

 400.    Such unlawful, unfair, and deceptive practices are ongoing and continue to date.

 401.    Ticketmaster’s unlawful, unfair, and deceptive business practices have caused substantial

 economic injury to Plaintiffs in an amount not presently known with precision, but which is, at

 minimum, thousands of dollars.

 402.    Plaintiffs are entitled to attorney fees by agreement or a statute according to proof.

 403.    Ticketmaster’s violations of California antitrust law are expansive that Plaintiffs should

 recover, in addition to actual damages, damages to make an example of and to punish

 Ticketmaster in an amount to be proven at trial.

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                                  XVI. PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs pray that this Court enter judgment against Defendant, adjudging,

 and decreeing that:

     a. Ticketmaster has engaged in contracts and/or combinations in violation of California

 Business and Professions Code sections 16720 and 16750(a), and Plaintiffs have been injured as

 a result of this violation;

     b. The unlawful conduct, contracts, and/or combinations alleged herein be adjudged and

 decreed to be an unreasonable restraint of trade;

     c. Ticketmaster has engaged in acts or practices that are unlawful, and which constitute

 unfair competition within the meaning of Business and Professions Code section 17200, with

 acts or practices violative of the California Cartwright Act, sections 16720 and 16750(a) of the

 Business and Professions Code;

     d. Ticketmaster has engaged in acts or practices that are unfair, irrespective of the violation

 of any other law, and which constitute unfair competition within the meaning of Business and

 Professions Code section 17200;

     e. Pursuant to Business and Professions Code section 16760, that Plaintiffs be awarded their

 damages, trebled, in an amount according to proof;

     f. Pursuant to Business and Professions Code sections 16750(c) and 16754.5, that the Court

 enter all orders necessary to prevent Ticketmaster as well as Ticketmaster’s successors, agents,

 representatives, employees, and all persons who act in concert with Ticketmaster from engaging

 in any act or practice that constitutes a violation of the Cartwright Act, section 16720, et. seq., of

 the Business and Professions Code, including such mandatory injunctions as may reasonably be




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 necessary to restore and preserve fair competition, and by disgorging ill-gotten gains arising

 from its anticompetitive acts;

    g. That Ticketmaster be ordered to compensate Plaintiffs for the deadweight loss to the

 economy caused by these acts;

    h. Pursuant to Business and Professions Code section 17203, that the Court enter all orders

 or judgments as may be necessary to restore to any person in interest any money or other

 property that Ticketmaster may have acquired by violations of Business and Professions Code

 section 17200, as proved at trial;

    i.   Pursuant to Business and Professions Code section 17206, that the Court assess a civil

 penalty of two thousand five hundred dollars ($2,500) against Ticketmaster for each violation of

 Business and Professions Code section 17200, as proved at trial;

    j.   Plaintiffs recover their costs of suit, including reasonable attorneys’ fees, as provided by

 law; and

    k. Plaintiffs receive such other, further, and different relief as the case may require and the

 Court may deem just and proper under the circumstances.


 Respectfully submitted:


 Dated this December 13, 2022           D.B. HILL, A PROFESSIONAL LAW CORPORATION



                                        ____________________________                __
                                        Dennis B. Hill,
                                        Attorneys for Plaintiffs JULIE BARFUSS ET AL




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 1                        VERIFICATION OF COMPLAINT FOR DAMAGES
 2
             I, WLIE J. BARFUSS, the undersigned declare:
 3

 4           I have read the foregoing FIRST AMENDED COMPLAINT. I hereby attest that the

 5    same is true of my own knowledge, except as to those matters which are therein stated on my
 6
      information and/or belief, and as to those matters I believe to be true. The allegations of law set
 7
      forth in the individual causes of action are based on my information and belief.
 8

 9
             I declare under the penalty of perjury under the laws of the State of California that the

10    foregoing is true and correct.
11
             This Verification was executed on December 13, 2022, in West Jordan, Utah.
12

13

14                                                  Signature: ------'--=~='-
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